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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

 SANDI ROPER, Individually and on            Case No. 2:17-cv-01106-ES-MAH
 Behalf of All Others Similarly Situated,
                                             MEMORANDUM OF LAW IN
                                Plaintiff,   SUPPORT OF THE RED OAK
                                             FUNDS’ MOTION FOR
 v.                                          APPOINTMENT AS LEAD
                                             PLAINTIFF AND APPROVAL
 SITO MOBILE LTD., JERRY HUG,                OF SELECTION OF LEAD
 and KURT STREAMS,                           COUNSEL

                             Defendants.     ORAL ARGUMENT
                                             REQUESTED

                                             MOTION DATE: May 15, 2017
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       The Red Oak Fund, LP, The Red Oak Long Fund LP, The Red Oak

Institutional Founders Long Fund, and Pinnacle Opportunities Fund, LP

(collectively, the “Movants” or the “Red Oak Funds”), by counsel, respectfully

submit this Memorandum of Law pursuant to the Securities Exchange Act of 1934

(the “Exchange Act”), 15 U.S.C. § 78u-4(a)(3)(B), as amended by the Private

Securities Litigation Reform Act of 1995 (the “PSLRA”) for entry of an order: (i)

appointing the Red Oak Funds as Lead Plaintiff in the in the above-captioned action

(“Action”); (ii) approving the Red Oak Funds’ selection of the law firm of Levi &

Korsinsky LLP (“Levi & Korsinsky”) to serve as Lead Counsel under 15 U.S.C. §

78u-4(a)(3)(B)(v); and (iii) granting such other and further relief as the Court may

deem just and proper.

  I.   INTRODUCTION

       The Action is brought pursuant to Sections 10(b) and 20(a) of the Exchange

 Act, 15 U.S.C. § 78j(b) and 78t(a), and U.S. Securities and Exchange Commission

 Rule 10b-5 promulgated thereunder, against: SITO Mobile Ltd. (“SITO” or the

 “Company”); the Company’s Chief Executive Officer (“CEO”) and Principal

 Executive Officer, Jerry Hug (“Hug”); the Company’s Chief Financial Officer, and

 Principal Financial & Accounting Officer, Kurt Streams (“Streams”) for violations

 of federal securities laws on behalf of a class of purchasers of the common stock




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    of SITO between February 9, 2016, and January 2, 2017, inclusive (the “Class

    Period”).

         Pursuant to the PSLRA, this Court must appoint the member of the class “most

capable of adequately representing the interests of class members” to serve as lead

plaintiff. See 15 U.S.C. § 78u-4(a)(3)(B)(i). The Red Oak Funds believe they are

entitled to appointment as Lead Plaintiff as the movants with the largest financial

interest that otherwise meets the applicable requirements of Rule 23 of the Federal

Rules of Civil Procedure. During the Class Period, the Red Oak Funds sustained

approximately $727,910.44 in losses as a result of purchasing SITO securities at

artificially inflated prices.1 Movants also respectfully request that the Court approve

Levi & Korsinsky as Lead Counsel. See 15 U.S.C. § 78u-4(a)(3)(B)(v) (“the most

adequate plaintiff shall, subject to the approval of the court, select and retain counsel

to represent the class”).




1
 See Declaration of Eduard Korsinsky in Support of the Red Oak Funds’ Motion for
Appointment as Lead Plaintiff and Approval of Selection of Lead Counsel, dated
April 18, 2017 (“Korsinsky Decl.”), Ex. A (Movant’s PSLRA certification); Ex. B
(Movant’s loss chart).

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 II.   STATEMENT OF FACTS

       SITO is a company which specializes in mobile location-based advertising

and mobile messaging. Compl. ¶ 3. 2 SITO offers a platform serving businesses,

advertisers and brands, and allowing them to create real-time targeted content based

on location, interests, behaviors and loyalty. ¶ 4.

       At the beginning of the Class Period, the Company issued a press release

announcing the Company’s quarterly fiscal results for the period ended December

31, 2015. ¶ 26. In this press release, Defendant Hug touted the Company’s “great

start in 2016” with its performance being driven by “increasing momentum in out

Media Placement business[.] Id. Later that day during the earnings conference call,

Defendant Hug stated that the Company’s product SITO Elect would allow the SITO

to compete for the increasing amount of campaign advertising dollars as more

advertisements moved to mobile from television. ¶ 27.

       On May 16, 2016, the Company issued a press release announcing the

Company’s quarterly fiscal results for the period ended March 31, 2016. ¶ 29. In

this press release, Defendant Hug touted the Company’s “record bookings” and

“strong growth in bookings” for the Company’s Media Placement business. Id.




2
 Citations to “¶ __” are to paragraphs of the Complaint For Violations of the Federal
Securities Laws (the “Complaint”) filed in the Action. The facts set forth in the
Complaint are incorporated herein by reference.
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Later that day during the earnings conference call, Defendant Hug expounded that

SITO Elect was seeing “bookings starting to build.” ¶ 30.

      On August 15, 2016, the Company issued a press release announcing the

Company’s quarterly fiscal results for the period ended June 30, 2016. ¶ 33. In this

press release, Defendant Hug touted the Company’s continued revenue growth. Id.

Later that day during the earnings conference call, Defendant Hug elaborated on the

growth trends stating “[n]ow, we are building bookings as the fall season approaches

and we expect growth to continue through the holiday season” and further “expect

Q4 to grow sequentially from Q3.” ¶ 34.

      On November 14, 2016, the Company issued a press release announcing the

Company’s quarterly fiscal results for the period ended September 30, 2016. ¶ 38.

In this press release, Defendant Hug touted the Company’s continued revenue

growth.   Id. Later that day during the earnings conference call, Defendant Hug

touted “[o]ur media placement business once again delivered stellar year-over-year

growth . . . We added new customers and increased total campaigns while also

adding more partners to our data ecosystem. Our RFP pipeline is growing and our

pool of opportunities is increasing . . . .” ¶ 39. Defendant Streams further added that

“Q4 is seasonally our stronger quarter in the advertising business and it’s that way

for SITO as well. So you should think of it that way, we think it's going to be strong

year over year. It’s also going to be you know it’s a strong seasonal quarter.” ¶ 42.


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         Before the market opened on January 3, 2017, the truth emerged when the

Company announced through a press release its preliminary media placement

revenues results for the quarter and year ended December 31, 2016. ¶ 45. This press

release announced that the Company’s fourth quarter media placement was expected

to be in the range of $7.3 - $7.6 million” with Defendant Hug stating that they had

“clearly underestimated the effects of this year’s election on our clients’ campaign

spending.” On this news, the price of SITO stock declined from a closing share price

of $3.69 per share on December 30, 2016 to close at $2.50 per share on January 3,

2017, a drop of approximately 32%, on exceptionally heavy trading volume. ¶ 46.

III.     ARGUMENT

       A. The PSLRA Standard for Appointing Lead Plaintiff

         The PSLRA sets forth the procedure for the selection of a lead plaintiff in

“each private action arising under [the Exchange Act] that is brought as a plaintiff

class action pursuant to the Federal Rules of Civil Procedure.” 15 U.S.C. § 78u-

4(a)(1); see 15 U.S.C. § 78u-4(3)(B). Specifically, within 20 days after the date on

which a class action is filed, the plaintiff shall cause to be published, in a widely

circulated national business-oriented publication or wire service, a notice

advising members of the purported plaintiff class –

         (I)   of the pendency of the action, the claims asserted therein, and
         the purported class period; and



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      (II) that, not later than 60 days after the date on which the notice is
      published, any member of the purported class may move the court to
      serve as lead plaintiff of the purported class.

15 U.S.C. § 78u-4(a)(3)(A)(i).

      Further, the PSLRA directs the Court to consider any motions by plaintiff

or purported class members to serve as Lead Plaintiff in response to any such notice

within 90 days after the date of publication of the notice. 15 U.S.C. § 78u-

4(a)(3)(B). Under the Exchange Act, the Court “shall” appoint the “most adequate

plaintiff,” and is to presume that plaintiff is the person which:

      (aa) has either filed the complaint or made a motion in response to a
      notice . . .;

      (bb) in the determination of the court, has the largest financial interest
      in the relief sought by the class; and

      (cc) otherwise satisfies the requirements of Rule 23 of the Federal
      Rules of   Civil Procedure.

15 U.S.C. § 78u-4(a)(3)(B)(iii)(I).

   B. The Red Oak Funds are the “Most Adequate Plaintiff” under the
      Exchange Act

      The Red Oak Funds respectfully submit that they are the “most adequate

plaintiff” because they have complied with the PSLRA procedural requirements,

have the largest financial interest of any movant, and satisfy Rule 23’s typicality and

adequacy requirements. Further, the Red Oak Funds have selected and retained

counsel experienced in the prosecution of securities class actions to represent the


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 proposed class. See Korsinsky Decl., Ex. D (Firm Resumé of Levi & Korsinsky).

 Accordingly, the Red Oak Funds satisfy the PSLRA’s filing requirements for

 seeking appointment as lead plaintiff and, therefore should be appointed Lead

 Plaintiff.

                        1. The Red Oak Funds Are Willing to Serve as Class
                           Representative

        On February 17, 2017, Plaintiff in the action caused a notice (the “Notice”) to

 be published pursuant to Section 21D(a)(3)(A) of the Exchange Act, which

 announced that a securities class action had been filed against Defendants and which

 advised putative class members that they have until April 18, 2017 to file a motion

 to seek appointment as a Lead Plaintiff in the action. 3 The Red Oak Funds have

 reviewed the complaint filed in the pending Action and have timely filed this motion

 pursuant to the Notice.

                        2. The Red Oak Funds Have the Largest Financial
                           Interest in the Relief Sought by the Class

        Under the Exchange Act, a rebuttable presumption exists whereby the movant

 with the largest financial interest in the litigation and who otherwise satisfies the

 requirements of Rule 23 of the Federal Rules of Civil Procedure is presumed to be




 3
  The Action was filed in this Court on February 17, 2017. Also on February 17,
 2017, the Notice was published over Globe NewsWire, a widely circulated national
 business-oriented wire service. See Korsinsky Decl., Exhibit C.
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 the most adequate plaintiff to lead the action. 15 U.S.C. § 78u-4(a)(3)(B)(iii); Sklar

 v. Amarin Corp. PLC, Civil Action No. 13-cv-06663 (FLW)(TJB), 2014 WL

 3748248, at *4 (D.N.J. July 29, 2014); see also In re Opnext, Inc., No. 08cv-0920,

 2008 U.S. Dist. LEXIS 60678 (D.N.J. Aug. 6, 2008). In determining the “largest

 financial interest” for purposes of lead plaintiff appointment, courts in the Third

 Circuit consider (1) the number of shares that the movants purchased during the

 putative class period; (2) the total net funds expended by the plaintiff during the class

 period; and (3) the approximate losses suffered by the plaintiff. See In re Cendant

 Corp. Litig., 264 F.3d 201, 262 (3d Cir. 2001) (“[W]e agree with the many district

 courts that have held that courts should consider, among other things: (1) the number

 of shares that the movants purchased during the putative class period; (2) the total

 net funds expended by the plaintiff during the class period; and (3) the approximate

 losses suffered by the plaintiff (citing Lax v. First Merch. Acceptance Corp., No. 97

 C 2715, 1997 WL 461036, at *5 (N.D. Ill. Aug. 11, 1997); In re Nice Sys. Sec. Litig.,

 188 F.R.D. 206, 217 (D.N.J. 1999); In re Olsten Corp. Sec. Litig., 3 F. Supp. 2d 286,

 295 (E.D.N.Y. 1998) (same)”); see also Sklar, 2014 WL 3748248, at *4.

       Under the PSLRA, damages are calculated based on (i) the difference between

 the purchase price paid for the shares and the average trading price of the shares

 during the 90-day period beginning on the date the information correcting the

 misstatement was disseminated, or (ii) the difference between the purchase price


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 paid for the shares and the greater of the price they sold the shares or the average

 trading price of the shares between the date when the misstatement was corrected

 and the date on which the plaintiff sold their shares, if they sold their shares before

 the end of the 90-day period. 15 U.S.C. § 78u-4(e).

       During the Class Period, the Red Oak Funds sustained losses in the amount of

 approximately $727,910.44 as a result of purchasing SITO common stock at

 artificially inflated prices. See Korsinsky Decl., Ex. B. The Red Oak Funds are not

 aware of any other movant with a larger financial interest and believe they have the

 largest financial interest of any lead plaintiff movants. Therefore, the Red Oak

 Funds are presumptively entitled to appointment as the Lead Plaintiff.

    C. The Red Oak Funds Are Qualified Under Rule 23

       The PSLRA provides that the lead plaintiff must also “otherwise satisf[y] the

 requirements of Rule 23 of the Federal Rules of Civil Procedure.” 15 U.S.C. § 78u-

 4(a)(3)(B)(iii)(I)(cc). Rule 23(a) provides that a party may serve as a class

 representative only if the following four requirements are satisfied:

       (1)    the class is so numerous that joinder of all members is
              impracticable;

       (2)    there are questions of law or fact common to the class;

       (3)    the claims or defenses of the representative parties are typical of
              the claims or defenses of the class; and

       (4)    the representative parties will fairly and adequately protect the
              interests of the class.
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 Fed. R. Civ. P. 23(a).

        For purposes of appointing lead plaintiff, the determination of whether the

 movants with the largest interest in the case otherwise satisfies Rule 23 “should be

 confined to determining whether the movants have made a prima facie showing of

 typicality and adequacy.” Sklar, 2014 WL 3748248, at *5, citing In re Cendant Corp.

 Litig., 264 F.3d at 262. The presumption that the movants with the largest financial

 interest are the most adequate plaintiff to lead the action may be rebutted only upon

 proof that the movants (1) will not fairly and adequately protect the interests of the

 class, or (2) are subject to unique defenses that render such movant incapable of

 adequately representing the class. See 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II), In re

 Opnext, Inc., 2008 U.S. Dist. LEXIS 60678, at *7- 10; see also Sklar, 2014 WL

 3748248, at *4.

        Of the four prerequisites to class certification, only two – typicality and

 adequacy – directly address the personal characteristics of the class representatives.

 Consequently, in deciding a motion to serve as lead plaintiff, the Court should limit

 its inquiry to the typicality and adequacy prongs of Rule 23(a), and defer

 examination of the remaining requirements until the lead plaintiff moves for class

 certification.




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       As detailed below, the Red Oak Funds satisfy the typicality and adequacy

 requirements of Rule 23(a), thereby justifying their appointment as Lead Plaintiff in

 this Action.

                       1. The Red Oak Funds’ Claims are Typical of the
                          Claims of the Class

       The typicality requirement of Rule 23(a) is satisfied when (1) the claims of

 the proposed lead plaintiff arise from the same course of conduct that gives rise to

 the other purported class members’ claims, and (2) the claims are based on the same

 legal theory. See In re Merck & Co., Inc. Securities, No. 05-cv-1151, 2013 U.S.

 Dist. LEXIS 13511, at *39-40 (D.N.J. Jan. 20, 2013), In re PharmaPrint, Inc. Sec.

 Litig., No. 00-cv-00061, 2002 U.S. Dist. LEXIS 19845, at *16 (D.N.J. April 17,

 2002).

       The claims asserted by the Red Oak Funds are based on the same legal theory

 and arise out of the same course of events as the other purported class members’

 claims. The Red Oak Funds purchased common stock of SITO, as did each member

 of the proposed class, at prices artificially inflated by Defendants’ false and

 misleading statements and was damaged thereby. Thus, the Red Oak Funds satisfy

 the typicality requirement of Rule 23(a).




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                        2. The Red Oak Funds Will Fairly and Adequately
                           Represent the Class’ Interests

       Under Rule 23(a)(4) of the Federal Rules of Civil Procedure, the

 representative party must “fairly and adequately protect the interest of the class.”

 Fed. R. Civ. P. 23(a)(4). A movant can demonstrate adequacy by showing that

 “(a) the [movant’s] attorney must be qualified, experienced, and generally able to

 conduct the proposed litigation, and (b) the [movant] must not have interests

 antagonistic to those of the class.” In re PharmaPrint, Inc. Sec. Litig., 2002 U.S.

 Dist. LEXIS 19845, at *16-17. Here, the Red Oak Funds’ interests are clearly

 aligned with the members of the proposed class. Not only is there no evidence of

 any antagonism between the Red Oak Funds’ interests and those of the class, but

 the Red Oak Funds have a significant and compelling interest in prosecuting the

 Action based on the large financial losses they have suffered as a result of the

 wrongful conduct alleged in the Action. This motivation, combined with the Red

 Oak Funds’ identical interest with the members of the Class, demonstrates that the

 Red Oak Funds will vigorously pursue the interests of the Class. As detailed above,

 the Red Oak Funds’ claims raise similar questions of law and fact as claims of the

 members of the class, and the Red Oak Funds’ claims are typical of the members

 of the class. Further, the Red Oak Funds have demonstrated their adequacy and

 willingness to serve as and assume the responsibilities of a lead plaintiff, as reflected

 in their signed certification. See Korsinsky Decl., Ex. A.            Having suffered
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 substantial losses, the Red Oak Funds will be a zealous advocate on behalf of the

 class.

          In addition, the Red Oak Funds have selected Levi & Korsinsky – counsel

 highly experienced in prosecuting securities class actions – to represent them. See

 Korsinsky Decl., Ex. D. Thus, the close alignment of interests between the Red

 Oak Funds and other class members, and the Red Oak Funds’ strong desire to

 prosecute the Action on behalf of the class, provide ample reason to grant the motion

 for appointment as Lead Plaintiff in the Action.

          Accordingly, at this stage of the proceedings, the Red Oak Funds have made

 the preliminary showing necessary to satisfy the typicality and adequacy

 requirements of Rule 23 and, therefore, satisfies 15 U.S.C. § 78u-

 4(a)(3)(B)(iii)(I)(cc). In addition, because the Red Oak Funds have sustained the

 largest amount of losses from Defendants’ alleged wrongdoing, they are, therefore,

 the presumptive lead plaintiff in accordance with 15 U.S.C. § 78u-4(3)(B)(iii)(I),

 and should be appointed as such to lead the Action.

                         3. This Court Should Approve the Red Oak Funds’
                            Choice of Counsel

          The Exchange Act vests authority in the lead plaintiff to select and retain

 lead counsel, subject only to court approval. See 15 U.S.C. § 78u-4(a)(3)(B)(v). The

 Red Oak Funds have retained Levi & Korsinsky to file moving papers on behalf of

 themselves seeking appointment as Lead Plaintiff and to serve as lead counsel to
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 pursue this litigation on behalf of the Red Oak Funds and the class. Levi &

 Korsinsky attorneys have extensive experience in the area of securities litigation

 and have successfully prosecuted numerous securities class actions on behalf of

 injured investors. See Korsinsky Decl., Ex. D.

 IV.   CONCLUSION

       The Red Oak Funds have satisfied each of the PSLRA’s requirements for

 appointment as lead plaintiff. As such, the Red Oak Funds respectfully request that

 the Court appoint them as Lead Plaintiff, approve their selection of counsel, and

 grant such other relief as the Court may deem just and proper.

  Dated: April 18, 2017               Respectfully submitted

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                                   Counsel for Movant Red Oak Funds and
                                   Proposed Counsel for the Class




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